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UNITED STATES DISTRICT COURT LECTRONICALLY FILEL
SOUTHERN DISTRICT OF NEW YORK PSO es
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MARICHU SUAREZ BAOANAN Do LL a fe
Plaintiff, : 08 Civ. 5692 (VM)
- against -
ORDER

LAURO LIBOON BAJA, Jr., et. al.,
Defendants.

VICTOR MARRERO, United States District Judge.

The Court having sua sponte raised the issue of diplomatic
immunity in this case, it is hereby

ORDERED that the Motions to Dismiss (Docket Nos. 16 and 17)
of Defendants, Lauro Liboon Baja, Jr., Norma Castro Baja, Maria
Elizabeth Baja Facundo, and Labaire International Travel, Inc.
(“Defendants”), be withdrawn, and any documents filed in connection
therewith be removed from the public record, pending the Court’s
decision regarding the issue of diplomatic immunity invoked by
defendants Lauro and Norma Baja; and it is further

ORDERED that the Plaintiff file a brief of no more than 10
pages by no later than October 14, 2008 in support of the Court’s
exercise of jurisdiction over Lauro and Norma Baja; and it is
further

ORDERED that Defendants Lauro and Norma Baja respond to the
Plaintiff’s brief by no later than October 28, 2008; and it is
finally

ORDERED that Plaintiffs reply to the Defendants’ response by
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no later than November 7, 2008.

SO ORDERED.

Dated: New York, New York
22 September 2008

 

 

Victor Marerro
U.S.D.d.
